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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

FRANCES A. KELLEY, Ph.D.,                          )
                                                   )
                Plaintiff,                         )
                                                   )    2:23-CV-02085-RJC
        v.                                         )
                                                   )
CARLOW UNIVERSITY,
                                                   )
                Defendant.                         )
                                                   )
                                                   )
                                                   )


                                CASE MANAGEMENT ORDER

       IT IS HEREBY ORDERED that this action is placed under Local Rule 16.1 for pretrial

proceedings and all provisions of the Rule will be strictly enforced. Pursuant to Local Rule 16.1,

the parties are directed as follows:

   1. The parties shall move to amend the pleadings or add new parties by July 3, 2024.

   2. The parties shall complete fact discovery by December 2, 2024. All interrogatories,

       depositions and requests for admissions and/or production of documents shall be served

       within sufficient time to allow responses to be completed prior to the close of fact

       discovery.

   3. The parties shall set deadlines for Plaintiff’s Expert Reports, Defendant’s Expert Reports,

       and depositions of all experts at the post-discovery status conference.

   4. The parties shall complete the ADR process they selected by August 30, 2024. Discovery

       is NOT stayed pending ADR.

   5. If a discovery dispute occurs, prior to filing any discovery motions, the parties shall first

       meet and confer in an attempt to resolve the dispute. If the matter is still unresolved after
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   meeting and conferring, then the parties shall jointly contact Chambers for purposes of

   scheduling a telephone conference with the Court.

6. The parties have elected to have the Court separately enter the Model Order located in the

   Appendix to LCvR 16.1.D relating to the protections of Federal Rule of Evidence 502(d).

7. The Court will conduct a telephonic post-discovery status conference on December 9,

   2024 at 9:30 a.m. Lead trial counsel shall attend, and the court will inform counsel if

   attendance by the parties is necessary. The Court has begun conducting this conference by

   telephone as a matter of course, but any party may request that the conference take place

   in person. Further, to the extent the parties believe that paper submissions will suffice and

   that a telephone conference is unnecessary, they may contact Chambers via email or

   telephone call to inform the Court of the same. The Court notes that typical topics for

   discussion at the post-discovery status conference include the scheduling of expert

   discovery deadlines, the scheduling of dispositive motions deadlines, further ADR efforts

   of the parties, and, if all discovery is complete and no party intends to file dispositive

   motions or believes that further ADR efforts would prove worthwhile, the scheduling of

   pretrial deadlines and trial. Any paper submission submitted in lieu of a post-discovery

   status conference should address such topics. To the extent the parties elect to pursue a

   conference, at least five (5) business days prior to the post-discovery status conference, the

   parties shall file on the docket an updated joint pre-conference statement. See Hon. Robert

   J. Colville Practices and Procedures, III.A.2. Any party may supplement the joint pre-

   conference statement with an individually filed voluntary position statement. See Hon.

   Robert J. Colville Practices and Procedures, III.A.3.
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   IT IS FURTHER ORDERED that counsel shall confer with their clients prior to all case

management, status or pretrial conferences to obtain authority to participate in settlement

negotiations to be conducted by the Court. Counsel are encouraged to instruct the principals to be

available by telephone to facilitate the amicable resolution of all litigation.




                                               BY THE COURT:

                                               s/ Robert J. Colville
                                               Robert J. Colville
                                               United States District Judge

Dated: June 3, 2024
cc: all counsel of record
